Case_2:04-cr-20391-SHI\/| Document 77 Filed 07/11/05 Pagelon Page|D 98

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IN THE UNITED STATES DISTRICT COURT " ‘c'
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL l
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UNITED sTA'rES oF AMERICA, elm/311 § § §SIP?C]IJ&H
Plaintiff,
vs. Case No. 2:04cr20391-Ma

Patricia Henderson

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $250.00,

payable to Cherrie Thomas at P.O. Box 26501, Memphis, TN 38126 in full refi.lnd of the cash

J////“'"_

United States District Judge
Samuel H. Mays, Jr.

appearance bond posted herein.

 

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Date: J“'} l '

 

Approved.

   

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
case 2:04-CR-20391 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Bruce I. Griffey

LAW OFFICES OF BRUCE I. GRIFFEY
142 North Third St.

3rd Floor

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

